Case 2:18-cv-11776-AJT-EAS ECF No. 33 filed 07/25/18   PageID.821   Page 1 of 26



                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


JOHN DOE,                                   :
                                            :   Case No. 18-cv-11776
                        Plaintiff,          :
                                            :   Hon. Arthur J. Tarnow
      v.                                    :   Mag. Elizabeth A. Stafford
                                            :
UNIVERSITY OF MICHIGAN, et al.,             :   DEFENDANTS’ MOTION
                                            :   TO STAY PENDING
                        Defendants.         :   APPEAL
                                            :
                                            :


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Case 2:18-cv-11776-AJT-EAS ECF No. 33 filed 07/25/18        PageID.822   Page 2 of 26



      Defendants move pursuant to Rule 62 of the Federal Rules of Civil

Procedure for an order staying this Court’s July 6, 2018 Order granting in part and

denying in part plaintiff’s motion for temporary restraining order and preliminary

injunction (ECF No. 30) pending the disposition of defendants’ appeal of the July

6th Order to the United States Court of Appeals for the Sixth Circuit. In support of

this motion, defendants rely upon the attached brief in support.

      Counsel for defendants requested concurrence in the relief sought by this

motion, conferred with counsel for plaintiff on July 9-12, 2018, and explained the

nature of this motion and offered to stay the University’s proceedings pending

appeal. Counsel for plaintiff did not agree to the relief sought.

      WHEREFORE, defendants respectfully request that the Court grant

defendants’ motion to stay the Court’s July 6th Order pending appeal.


                                        Respectfully submitted,

July 25, 2018                           /s/Joshua W. B. Richards
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Case 2:18-cv-11776-AJT-EAS ECF No. 33 filed 07/25/18   PageID.823   Page 3 of 26



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Case 2:18-cv-11776-AJT-EAS ECF No. 33 filed 07/25/18   PageID.824   Page 4 of 26



                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


JOHN DOE,                                   :
                                            :   Case No. 18-cv-11776
                        Plaintiff,          :
                                            :   Hon. Arthur J. Tarnow
      v.                                    :   Mag. Elizabeth A. Stafford
                                            :
UNIVERSITY OF MICHIGAN, et al.,             :   BRIEF IN SUPPORT OF
                                            :   DEFENDANTS’ MOTION
                        Defendants.         :   TO STAY PENDING
                                            :   APPEAL
                                            :


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Case 2:18-cv-11776-AJT-EAS ECF No. 33 filed 07/25/18                               PageID.825         Page 5 of 26



                                        TABLE OF CONTENTS


STATEMENT OF THE ISSUE PRESENTED ....................................................... iv
CONTROLLING AUTHORITY ...............................................................................v
INTRODUCTION .....................................................................................................1
BACKGROUND .......................................................................................................3
LEGAL STANDARD ................................................................................................5
ARGUMENT .............................................................................................................5
   I.     Defendants Have a Likelihood of Prevailing on Appeal. ..............................5

   II.    Defendants Will Suffer Irreparable Harm Absent a Stay. .............................8

   III. A Stay Would Not Substantially Injure Plaintiff But Would Protect the
   Claimant’s Interests. ............................................................................................14

   IV. A Stay Would Serve the Public Interest. .....................................................15
CONCLUSION ........................................................................................................16
Case 2:18-cv-11776-AJT-EAS ECF No. 33 filed 07/25/18                            PageID.826         Page 6 of 26



                                    TABLE OF AUTHORITIES

CASES
Bonnell v. Lorenzo,
  241 F.3d 800 (6th Cir. 2001) ............................................................................2, 9

Christian Schmidt Brewing Co. v. G. Heileman Brewing Co.,
  600 F. Supp. 1326 (E.D. Mich. 1985) (Feikens, C.J.), aff’d, 753
  F.2d 1354 (6th Cir. 1985) ...................................................................................14
Cox v. Jackson,
  579 F. Supp. 2d 831 (E.D. Mich. 2008) ............................................................... 9
Doe v. Cummins,
  662 F. App’x 437 (6th Cir. 2016) ......................................................................... 7
Doe v. Miami Univ.,
  882 F.3d 579 (6th Cir. 2018) ........................................................................v, 7, 8
Doe v. Ohio State Univ.,
  136 F. Supp. 3d 854 (S.D. Ohio 2016) ................................................................. 9
Doe v. Univ. of Cincinnati,
  872 F.3d 393 (6th Cir. 2017) ............................................................................v, 7

Flaim v. Med. Coll. of Ohio,
   418 F.3d 629 (6th Cir. 2005) ....................................................................v, 2, 6, 7
Grutter v. Bollinger,
  137 F. Supp. 2d 874 (E.D. Mich. 2001) ............................................................... 5
Karcher v. Daggett,
  455 U.S. 1303 (1982) ............................................................................................2

Marshall v. Ohio Univ.,
  No. 15-cv-775, 2015 WL 1179955 (S.D. Ohio Mar. 13, 2015) .........................10

Mayfield v. Miles,
  No. 13-10341, 2014 WL 5605301 (E.D. Mich. Nov. 4, 2014) ............................ 9
Ramik v. Darling Int’l, Inc.,
  161 F. Supp. 2d 772 (E.D. Mich. 2001) ............................................................... 9


                                                        ii
Case 2:18-cv-11776-AJT-EAS ECF No. 33 filed 07/25/18                                 PageID.827          Page 7 of 26



Schrier v. Univ. of Colo.,
   427 F.3d 1253 (10th Cir. 2005) ............................................................................ 9

Seal v. Morgan,
   229 F.3d 567 (6th Cir. 2000) ................................................................................ 9

Simon Prop. Grp., Inc. v. Taubman Ctrs., Inc.,
   262 F. Supp. 2d 794 (E.D. Mich. 2003) ............................................................... 9

Univ. of Tex. v. Camenisch,
  451 U.S. 390 (1981) ..............................................................................................9

STATUTES
28 U.S.C § 1292(a)(1) ................................................................................................5

OTHER AUTHORITIES
11 Charles Alan Wright, et al., Federal Practice and Procedure
   § 2904 (3d ed. 2012) .............................................................................................5
6 Cir. R. 31(c)(2)(A) ............................................................................................4, 14
Fed. R. Civ. P. 62 .......................................................................................................5




                                                           iii
Case 2:18-cv-11776-AJT-EAS ECF No. 33 filed 07/25/18     PageID.828    Page 8 of 26



                  STATEMENT OF THE ISSUE PRESENTED

      Whether the Court should stay its July 6, 2018 Order granting in part and

denying in part plaintiff’s motion for temporary restraining order and preliminary

injunction (ECF No. 30) pending the disposition of defendants’ appeal of the Order

to the Sixth Circuit because: (1) without a stay, defendants will be irreparably

harmed because adhering to the Court’s Order will set an irreversible internal

University precedent that departs from the University’s written policies governing

claims of sexual misconduct; (2) defendants have a likelihood of success on the

merits of their appeal based on Sixth Circuit precedent; (3) any alleged harm to

plaintiff is outweighed by the harm to the University and other interested parties,

including the student who has alleged plaintiff assaulted her; and (4) the public

interest favors granting a stay.

      Proposed Answer: Yes.




                                        iv
Case 2:18-cv-11776-AJT-EAS ECF No. 33 filed 07/25/18        PageID.829   Page 9 of 26



                        CONTROLLING AUTHORITY

Doe v. Miami Univ., 882 F.3d 579 (6th Cir. 2018)

Doe v. Univ. of Cincinnati, 872 F.3d 393 (6th Cir. 2017)

Flaim v. Med. Coll. of Ohio, 418 F.3d 629 (6th Cir. 2005)




                                        v
Case 2:18-cv-11776-AJT-EAS ECF No. 33 filed 07/25/18         PageID.830    Page 10 of 26



                                  INTRODUCTION

       The University of Michigan respectfully requests that the Court stay its July

 6, 2018 mandatory injunction ordering the University to alter its student sexual

 misconduct procedures and provide plaintiff with a live hearing “as soon as

 practicable.” (ECF No. 30 at 18) (the “Order”).

       First, despite language in the Order seeking to cabin the Court’s holding to

 this particular case, the Order as a matter of logic and law should apply in all cases:

 if the Court were correct that the Constitution requires a university to provide a

 live adjudicatory hearing to a student alleged to have sexually assaulted another

 student, the same due process requirement should apply in all such cases, including

 all other student sexual assault cases at the University of Michigan. In other

 words, if the Court does not grant a stay, there is nothing – not even the ripeness

 doctrine – to prevent any other Michigan student who does not like the current

 policy to rush into court before an investigation is complete and seek a preliminary

 injunction blocking the University from proceeding under its current policy. The

 University has other student sexual misconduct cases pending. Without a stay,

 neither the University nor its students can have any certainty about the effect of the

 Court’s Order and how the University should resolve existing and new cases.

       Second, that type of extraordinarily disruptive impact is particularly

 premature, and should be stayed, given the as-yet unsettled state of the law. See
Case 2:18-cv-11776-AJT-EAS ECF No. 33 filed 07/25/18         PageID.831    Page 11 of 26



 Karcher v. Daggett, 455 U.S. 1303, 1306 (1982) (entering stay of three-judge

 district court ruling pending appeal given “[t]he importance of a definitive answer

 from this Court as to the proper interpretation” of the constitutional issue and the

 broad, nationwide impact that could result from the decision); Bonnell v. Lorenzo,

 241 F.3d 800, 808, 826 (6th Cir. 2001) (emphasizing that preliminary injunctions

 should not be issued in “cases which are doubtful or do not come within well-

 established principles of law”). Like the University, colleges and universities

 throughout the United States use a single-investigator, non-hearing model1 to

 resolve student sexual misconduct cases.          See generally Exhibit D to the

 Declaration of Joshua W. B. Richards, Esq. (the “Richards Declaration”). Despite

 numerous challenges to student sexual misconduct policies in recent years in state

 and federal courts, no court had ever held that an investigative process without a

 live hearing is unconstitutional. To the contrary, courts have held that “[f]ull-scale

 adversarial hearings in school disciplinary proceedings have never been required

 by the Due Process Clause.” Flaim v. Med. Coll. of Ohio, 418 F.3d 629, 640-41

 (6th Cir. 2005). The issue in this case is one of first impression and presents a pure



 1
   A “single-investigator model” is one in which an investigator, rather than a live
 hearing panel, gathers and weighs evidence to determine whether an accused
 student is responsible for a policy violation. It is in that regard very similar to the
 sort of disciplinarian “give-and-take” blessed by the United States Supreme Court
 in Goss v. Lopez, 419 U.S. 565, 584 (1975).


                                           2
Case 2:18-cv-11776-AJT-EAS ECF No. 33 filed 07/25/18         PageID.832   Page 12 of 26



 question of law; and the legal effect of the Court’s Order is not narrow and not

 limited to this case.

          The University respectfully submits that the prudent path would be to give

 the Sixth Circuit time to decide the weighty, widely consequential legal question

 before requiring the University, and all other colleges and universities in the Sixth

 Circuit that use an investigatory process, to radically alter their student sexual

 misconduct policies immediately, over the summer, and without an opportunity for

 study.

          Plaintiff already has his transcript, and there is no ongoing proceeding to

 resolve the allegations of sexual misconduct. He would face no harm whatsoever

 if the Court’s Order is stayed while the important legal question is decided.

          For these reasons, and those set forth more fully below, the Court should

 enter a stay of its Order.

                                    BACKGROUND

          The University resolves allegations that a student sexually assaulted another

 student under its Policy and Procedures on Student Sexual and Gender-Based

 Misconduct and Other Forms of Interpersonal Violence (the “Policy,” attached as

 Exhibit A to the Richards Declaration). For complaints of other types of non-

 sexual misconduct, the University follows the procedures outlined in its Statement




                                            3
Case 2:18-cv-11776-AJT-EAS ECF No. 33 filed 07/25/18      PageID.833    Page 13 of 26



 of Student Rights and Responsibilities (the “Statement,” attached as Exhibit B to

 the Richards Declaration).

       In March of 2018, a female student (the “Claimant”) accused plaintiff of

 sexual assault. Dissatisfied with the University’s use of the Policy rather than the

 Statement to investigate the complaint, on June 4, 2018, plaintiff filed this action

 challenging the constitutionality of the University’s process. (ECF No. 1).

       On June 5, 2018, plaintiff filed a motion for temporary restraining order and

 preliminary injunction (“Plaintiff’s Motion”) seeking an order enjoining the

 University from withholding plaintiff’s transcript and continuing its investigation

 under the Policy. (ECF No. 4). The University voluntarily released plaintiff’s

 transcript on June 12, 2018 and filed a response to Plaintiffs’ Motion on June 15,

 2018. (ECF No. 21). On June 28, 2018, the Court held a hearing on Plaintiff’s

 Motion, and on July 6, 2018, the Court issued an Order directing the University to

 provide plaintiff with a live hearing in accordance with the procedures set forth in

 its Statement rather than the Policy. (ECF No. 30).

       On July 25, 2018, defendants filed a Notice of Appeal of the Court’s Order

 to the United States Court of Appeals for the Sixth Circuit. The Sixth Circuit

 schedules expedited briefing for appeals from orders granting preliminary

 injunctions. See 6 Cir. R. 31(c)(2)(A).




                                           4
Case 2:18-cv-11776-AJT-EAS ECF No. 33 filed 07/25/18          PageID.834    Page 14 of 26



                                 LEGAL STANDARD

       Litigants in the federal courts have an express statutory right to immediately

 appeal “[i]nterlocutory orders of the district courts of the United States . . . granting

 . . . injunctions . . . .” 28 U.S.C § 1292(a)(1).

       Federal Rule of Civil Procedure 62 permits this Court to suspend its award

 of an injunction during the pendency of an appeal. When an appeal has been

 taken, “there is no reason why the district court should not make an order

 preserving the status quo during the expected appeal.” 11 Charles Alan Wright, et

 al., Federal Practice and Procedure § 2904 (3d ed. 2012).

       Courts consider the following factors under Rule 62: “(1) whether the stay

 applicant has made a strong showing that he is likely to succeed on the merits;

 (2) whether the applicant will be irreparably injured absent a stay; (3) whether

 issuance of the stay will substantially injure the other parties interested in the

 proceeding; and (4) where the public interest lies.” Grutter v. Bollinger, 137 F.

 Supp. 2d 874, 875 (E.D. Mich. 2001).

                                      ARGUMENT

 I.    Defendants Have a Likelihood of Prevailing on Appeal.

       The Court’s ruling on plaintiff’s due process claim breaks new ground. As

 the Court acknowledged in its Order, “the Sixth Circuit . . . has not ruled on

 whether a circumscribed form of cross-examination is constitutional in the absence



                                             5
Case 2:18-cv-11776-AJT-EAS ECF No. 33 filed 07/25/18       PageID.835    Page 15 of 26



 of a live hearing.” (ECF No. 30 at 13). In addition, plaintiff’s request for an

 injunction was granted before plaintiff had demonstrated that he had been deprived

 of any recognized property interest. 2

       The Court’s ruling on the constitutional question was at best a close call on a

 matter of first impression requiring the Court to anticipate how the Sixth Circuit

 would rule. Given this uncertainty (and its interplay with the injunction standard

 in the first instance), the Court’s mandatory preliminary injunction should be

 stayed in favor of maintaining the status quo pending a ruling from the Court of

 Appeals.

       Respectfully, defendants are likely to succeed on appeal because this Court

 has applied the Sixth Circuit’s precedents in a manner unsupported by the plain

 language of the controlling cases, as the Court recognized in part during oral

 argument and in its Order. See (ECF No. 29 at 56 (“[W]e don’t know what the

 Sixth Circuit is going to say no matter what I rule.”)). Specifically, the Court’s

 Order acknowledges that to satisfy due process, a hearing “need not be live,” (ECF

 No. 30 at 11), so long as it “provide[s] the accused with the opportunity to respond,

 explain, and defend,” id. (quoting Flaim, 418 F.3d at 635). “Full-scale adversarial


 2
  Plaintiff mistakenly claims that the mere deprivation of appropriate investigatory
 procedures violates his due process rights, but there is no constitutional right to
 procedures absent the deprivation of a protected property right. See ECF No. 21 at
 22-23.

                                          6
Case 2:18-cv-11776-AJT-EAS ECF No. 33 filed 07/25/18         PageID.836     Page 16 of 26



 hearings in school disciplinary proceedings have never been required by the Due

 Process Clause.” Flaim, 418 F.3d at 640-41.

       Cincinnati contemplates only a “circumscribed form of cross-examination,”

 in which “written questions” are submitted through a factfinder who both screens

 and asks the questions. Cincinnati, 872 F.3d at 396-97, 404-06 (internal marks

 omitted); see also Doe v. Cummins, 662 F. App’x 437, 439, 448 (6th Cir. 2016).

 “[I]f the credibility of an alleged victim is at issue,” then the touchstone is that the

 university “provide a way for the adjudicat[or] to evaluate the victim’s credibility

 and ‘to assess the demeanor of both the accused and his accuser.’” Doe v. Miami

 Univ., 882 F.3d 579, 600 (6th Cir. 2018) (quoting Cincinnati, 872 F.3d at 406). It

 is vital to appreciate the procedural posture in Cincinnati: the respondent there had

 no opportunity to proffer questions to the claimant because she did not appear at an

 adjudicatory hearing; thus testimonial evidence from her was submitted to the

 factfinder without any possibility that questions could be posed to her by the

 respondent or factfinder.     As explained by the Sixth Circuit, even there, the

 university’s “obligations [w]ere are narrow: it must provide a means for the

 [factfinder] panel to evaluate an alleged victim’s credibility, not for the accused to

 physically confront his accuser.” Cincinnati, 872 F.3d at 406.

       The problems with the approach rejected in Cincinnati are obvious. There

 are, however, no such similar problems in the University’s process.                The


                                            7
Case 2:18-cv-11776-AJT-EAS ECF No. 33 filed 07/25/18           PageID.837     Page 17 of 26



 University’s investigator interviewed the Claimant in a live, in-person meeting

 during which she could assess the Claimant’s credibility and spoke with the

 Claimant thereafter to ask questions proposed by plaintiff. (ECF No. 21 at 1, 8-12,

 20-21). Plaintiff posed numerous questions to be asked of the Claimant by the

 investigator. Plaintiff had an opportunity – assisted by counsel, with sufficient

 time – to prepare feedback on the Claimant’s answers and suggest additional

 questions.      Under these circumstances, that the University’s process does not

 include a live hearing for plaintiff to directly confront Claimant in no way

 prevented plaintiff from having an opportunity to be heard. See Miami Univ., 882

 F.3d at 600.

           Finally, as to the likely scope of the Court’s Order, it is worth noting that an

     informal, non-exhaustive survey revealed that more than one hundred public

     universities around the country, including at least twenty within the Sixth Circuit,

     use models similar or identical to the University’s to investigate allegations of

     sexual assault.3 Every one of those institutions’ obligations to their students is

     brought into question by the Court’s Order.

     II.   Defendants Will Suffer Irreparable Harm Absent a Stay.

           The Court’s Order constitutes a mandatory preliminary injunction that alters

 the status quo.       Courts in this Circuit and elsewhere disfavor this type of

 3
      See Richards Declaration Exhibit D.


                                              8
Case 2:18-cv-11776-AJT-EAS ECF No. 33 filed 07/25/18       PageID.838    Page 18 of 26



 injunction. See Cox v. Jackson, 579 F. Supp. 2d 831, 855 n.8 (E.D. Mich. 2008)

 (citing Schrier v. Univ. of Colo., 427 F.3d 1253, 1259 (10th Cir. 2005)); Mayfield

 v. Miles, No. 13-10341, 2014 WL 5605301, at *5 (E.D. Mich. Nov. 4, 2014)

 (same); see also Bonnell, 241 F.3d at 808, 826 (emphasizing that preliminary

 injunctions should not be issued in “cases which are doubtful or do not come

 within well-established principles of law”). 4

        Indeed, the primary purpose of emergency injunctive relief is “to preserve

 the relative positions of the parties” until a merits determination can be made.

 Univ. of Tex. v. Camenisch, 451 U.S. 390, 395 (1981); see also Ramik v. Darling

 Int’l, Inc., 161 F. Supp. 2d 772, 778 (E.D. Mich. 2001); Simon Prop. Grp., Inc. v.

 Taubman Ctrs., Inc., 262 F. Supp. 2d 794, 798 (E.D. Mich. 2003). Staying the

 imposition of a mandatory injunction pending appeal would acknowledge the Sixth

 Circuit’s strong aversion to such steps.

        Universities have an “unquestionably powerful interest in maintaining the

 safety of their campuses.” Seal v. Morgan, 229 F.3d 567, 574 (6th Cir. 2000). The

 power of a university to “regulate its student body, including investigating and

 disciplining its students for sexual misconduct,” is required by Title IX, and a

 failure to do so “could jeopardize its federal funding.” Doe v. Ohio State Univ.,

 136 F. Supp. 3d 854, 871 (S.D. Ohio 2016). Forcing the University to modify its

 4
     Unpublished cases are attached as Exhibit C to the Richards Declaration.


                                            9
Case 2:18-cv-11776-AJT-EAS ECF No. 33 filed 07/25/18       PageID.839    Page 19 of 26



 procedures midstream, before a final decision, diminishes the integrity of that

 process, and the University’s ability to enforce it in this case and other cases. See

 Marshall v. Ohio Univ., No. 15-cv-775, 2015 WL 1179955, at *10 (S.D. Ohio

 Mar. 13, 2015) (explaining that “[i]ssuing a temporary restraining order . . . would

 likely interfere with [the University’s] ability to enforce its disciplinary

 standards”).

       Respectfully, the Court’s Order dramatically alters the status quo by doing

 nothing less than rewriting the University’s disciplinary procedures.            The

 University’s methods for resolving allegations of sexual misconduct arose from the

 painstaking efforts of a team of experts retained by the University, including

 nationally-recognized legal experts who specialize in student conduct matters.

 Those experts were tasked with creating effective policies to address sexual

 misconduct on campus using a process that is fair to all parties and provides

 multiple layers of due process protections.

       While the Court’s Order purports to be limited to the plaintiff in this case,

 that narrowness is of little practical effect in the lawsuit that will inevitably be

 brought by the next affected student. Instead, the Court’s Order – which requires

 the University to use policies not designed for sexual assault allegations to decide

 sexual assault allegations – amounts to a wholesale substitution of the Court’s

 views for that of subject-matter experts as to what the University’s internal


                                          10
Case 2:18-cv-11776-AJT-EAS ECF No. 33 filed 07/25/18        PageID.840    Page 20 of 26



 procedures for adjudicating student conduct should be. That decision affects not

 only the University, but also the more than one hundred public universities around

 the country, including at least twenty within the Sixth Circuit, that use the single-

 investigator model.

       Moreover, in this particular case restarting the process under the Statement

 and providing the “live hearing” described in the Court’s Order presents several

 serious concerns and practical difficulties that, respectfully, appear not to have

 been considered by the Court, including:

       • Witness availability. The Statement provides that participants in the

          hearing may question any witnesses who have presented information.

          See Statement at 7. Five witnesses have provided information in the

          investigation of the allegations against plaintiff, but there is a pronounced

          risk that these witnesses will not be available to participate in a hearing

          held during the summer, when few students are on campus. Some of

          these witnesses may not be back on campus until the fall (if at all), which

          may jeopardize the integrity of the investigation and/or hearing.

          Furthermore, it is uncertain from the Order whether all the information

          gathered by the investigator must be destroyed and whether Claimant

          would have to serve as her own advocate and obtain witness testimony




                                          11
Case 2:18-cv-11776-AJT-EAS ECF No. 33 filed 07/25/18       PageID.841    Page 21 of 26



          without the ability to require witnesses to attend the hearing (particularly

          during the summer).

       • Resolution Officer versus Student Resolution Panel.              Under the

          Statement, plaintiff may choose to have either a Resolution Officer or

          Student Resolution Panel arbitrate the dispute.       See Statement at 6.

          Although the University has (only just barely) a sufficient number of

          students available to serve on a Student Resolution Panel during the

          summer, these students have not been trained to handle matters involving

          claims of sexual misconduct (which, for example, requires understanding

          the University’s Title IX obligations). Asking these students to hear

          plaintiff’s dispute would raise a number of clear potential problems.

       Taken together, these challenges could mean that as a result of the Court’s

 ruling, the University cannot proceed against plaintiff at all, which the University

 does not believe the Court intended as a consequence of its Order. Additionally:

       • Burden of Proof. The Court’s Order requiring the University to apply

          the Statement’s procedures materially changes the burden of proof for

          adjudicating the allegations against plaintiff.     The burden of proof

          provided in the Statement is a clear and convincing standard, see

          Statement at 6, whereas the Policy uses the preponderance of the

          evidence standard, see Policy at 28. In theory, plaintiff could be found


                                         12
Case 2:18-cv-11776-AJT-EAS ECF No. 33 filed 07/25/18      PageID.842    Page 22 of 26



          not responsible under the Statement’s clear and convincing standard, but

          then undergo a new process and face a potentially different finding under

          the Policy’s preponderance of the evidence standard if the Sixth Circuit

          rules in the University’s favor. And the Order’s extraordinary impact of

          changing the burden of proof in all student sexual misconduct policies at

          the University, whether intended or otherwise, is inconsistent with

          courts’ strong views disfavoring mandatory injunctions.

       • An irreversible precedent. Although the Court’s Order limited the

          relief “to Plaintiff and the ongoing investigation into his alleged

          conduct,” (ECF No. 30 at 18), the Court’s ruling draws into question the

          constitutionality of the single-investigator model and whether defendants

          may proceed with this model under the Policy in other student sexual

          misconduct cases. By complying with the Order now and proceeding

          with the allegations against plaintiff under the Statement (rather than the

          Policy), the University will have set a precedent that it will depart from

          its written policies governing claims of sexual misconduct.

       The significant and irreversible consequences of complying with the Court’s

 Order prior to the Sixth Circuit’s resolution of the underlying due process issue

 weigh heavily in favor of issuing a stay of the Court’s Order pending appeal.




                                         13
Case 2:18-cv-11776-AJT-EAS ECF No. 33 filed 07/25/18         PageID.843    Page 23 of 26



 III.   A Stay Would Not Substantially Injure Plaintiff But Would Protect the
        Claimant’s Interests.

        In contrast to the harm that defendants will suffer if the injunction and Order

 are not suspended, a stay of the Order would only minimally delay the live hearing

 and investigation under the University’s Statement if the Sixth Circuit affirms the

 Court’s Order. Indeed, some amount of delay is likely inevitable to the extent

 witnesses are unavailable to participate in a hearing during the summer and the

 potential need to train a new panel to hear plaintiff’s case.

        On the other hand, it is undisputed that plaintiff has a copy of his transcript

 and diploma (ECF No. 30 at 7) and does not plan to enroll at the University for

 graduate school (ECF No. 29 at 56). Additionally, should the Court grant this

 motion and stay its Order, there is no possibility that plaintiff will be deprived of a

 constitutionally-protected property or liberty interest during the pendency of the

 appeal because the status quo will be maintained and defendants will not issue a

 finding. A short delay for the Sixth Circuit to hear the appeal will not substantially

 harm plaintiff. See Christian Schmidt Brewing Co. v. G. Heileman Brewing Co.,

 600 F. Supp. 1326, 1332 (E.D. Mich. 1985) (Feikens, C.J.), aff’d, 753 F.2d 1354

 (6th Cir. 1985); see also 6 Cir. R. 31(c)(2)(A) (Sixth Circuit schedules expedited

 briefing for appeals from orders granting preliminary injunctions).

        On the other hand, the University likely will have completed the process

 required by the Court’s Order prior to the Sixth Circuit’s ruling on the appeal. If

                                           14
Case 2:18-cv-11776-AJT-EAS ECF No. 33 filed 07/25/18       PageID.844    Page 24 of 26



 the injunction is not stayed and the University prevails on appeal, the University

 will have dramatically altered its procedures and standards to conduct the Court-

 ordered hearing, and will have confused students and administrators alike

 concerning the applicable procedures for sexual misconduct investigations, as

 detailed in the preceding section.

       It bears emphasis that there is a young woman in this case who also has an

 interest in the integrity of the process and ultimate finding with respect to the

 allegations she has brought against plaintiff.     Deviating from the established

 procedures for handling claims of sexual misconduct and applying a materially

 different burden of proof injures the Claimant’s interests as well as those of

 defendants, and outweighs any de minimis harm to plaintiff that could result from

 issuing the stay.

 IV.   A Stay Would Serve the Public Interest.

       The Sixth Circuit’s resolution of the issue on appeal will significantly affect

 the future course of public universities’ resolution of sexual misconduct and Title

 IX claims. As described, more than one hundred public universities use a single

 investigator model in the investigation of allegations of sexual misconduct,

 including at least twenty within the Sixth Circuit. See Richards Decl. Ex. D.

 Despite the purported narrowness of the Court’s Order, there is no question that it

 has the potential for much wider influence at the University, within this Circuit,


                                         15
Case 2:18-cv-11776-AJT-EAS ECF No. 33 filed 07/25/18        PageID.845    Page 25 of 26



 and elsewhere. Given how common this model is among public universities, see

 id., the public interest is best served by awaiting a definitive ruling from the Sixth

 Circuit.

                                   CONCLUSION

       Defendants respectfully request that the Court grant defendants’ motion to

 stay the Court’s July 6th Order pending appeal.


                                        Respectfully submitted,

 July 25, 2018                          /s/Joshua W. B. Richards
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                                          16
Case 2:18-cv-11776-AJT-EAS ECF No. 33 filed 07/25/18     PageID.846   Page 26 of 26



                            CERTIFICATE OF SERVICE
       I hereby certify that on July 25, 2018, I electronically filed the foregoing

 papers with the Clerk of the Court using the ECF system which will send

 notification of such filing to:

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